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                    INDEBTEDNESS WORKSHEET
                        DEBT AS OF THE PETITION DATE

 A. Total pre-petition indebtedness of debtor(s) to movant (if movant is not the lender,
      this refers to the indebtedness owed to the lender) as of petition filing date:
    $__175,365.94__________

       1. Amount of principal: $__171,611.58__________

       2. Amount of interest: $__3,748.86__________

       3. Amount of escrow (taxes and insurance): $____--________

       4. Amount of forced placed insurance expended by movant: $____--________

       5. Amount of attorneys’ fees billed to debtors(s) pre-petition: $____--________

       6. Amount of pre-petition late fees, if any, billed to debtor(s): $___258.12______

       7. Any additional pre-petition fees, charges or amounts charged to debtors/debtors
          account and not listed above: ________73.00__________________________

       8. Suspense Balance:        <325.62>



B. Contractual interest rate:___7.875_________(if interest rate is (or was) adjustable,
   list the rate(s) and date(s) the rate(s) was/were in effect on a separate sheet and
   attach the sheet as an exhibit to this form; list the exhibit number here:_______.)
